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                               United   States General   Accounting   Office


GAO                            Report to the Chairman, Subcommittee
                                   ’
                               on Health and the Environment,
                               Committee on Energy and Commerce,
                               House of Representatives

January   1994
                               PRESCRIPTION
                               DRUGS
                               Companies Qpically
                               Charge More in the
                               United States Than in
                               the United Kingdom
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GAO
                     United States
                     General Accounting Office
                     Washington, D.C. 20648

                     Health, Education, and
                     Human   Services Division

                     B-251664

                     January 12,1994

                     The Honorable Henry A. Waxman
                     Chairman, Subcommittee on Health
                        and the Environment
                      Committee on Energy and Commerce
                     House of Representatives

                     Dear Mr. Chairman:

                     As the U.S. debate over health care reform unfolds, a major controversy
                     concerns the appropriate level of prescription drug prices. Although
                     outpatient prescription drugs represented only about 5 percent of total
                     1991 U.S. health care expenditures, the recent pace of drug price increases
                     has heightened the visibility of prescription drug costs. During the 198Os,
                     prescription drug prices increased at rates higher than the average rate of
                     inflation in the overall economy. WhiIe the rate of prescription drug price
                     increases (as measured by the consumer price index for prescription
                     drugs) has slowed since 1990, public discontent over the high cost of drugs
                     in the United States persists as consumers and poIicymakers look to other
                     countries where a perception exists that drugs are sold more cheaply.

                     In light of public and congressional interest in prescription drug pricing,
                     you asked that we examine the extent to which drug manufacturers charge
                     more for the same products in the United States than abroad. In addition,
                     you asked that, in studying manufacturers’ “factory prices,” we identify, to
                     the extent possible, the causes of any documented price differentials.’ In a
                     previous report, we compared factory prices for frequently dispensed
                     prescription drugs in the United States with the prices of the identicaI
                     drugs sold in Canada2 In this report, we present the results of our
                     comparison of factory prices for frequently dispensed prescription drugs
                     sold in both the United States and the United Kingdom (U.K.).

                     Our study focuses on factory prices, brand-name drugs, and the market
                     segment in which retail pharmacies generaIIy do not receive
                     manufacturers’ discounts. Given this focus, we examined the top 200
                     prescription drug products most frequently dispensed in 1991 in the
                     United States. These 200 drugs accounted for the majority (54.9 percent)

                     ‘Pharmaceutxal prices can be measured at different points in the distribution chain. Retail prices are
                     paid by consumetx to pharmacists. Wholesale prices are paid by pharmacists to wholesalers. Factory
                     prices-which our study focuses on-are paid by wholesalers to manufacturers.

                     %ee Prescription Drugs: Companies Typically Charge More in the United States Than in Canada
                     (GACVHRD-92-110, Sept. 30, 1992).


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                          of all prescriptions dispensed in the United States. We succeeded in
                          matching 77 of these popular products with the identical drugs sold in the
                          United Kingdom.3 Our study included only products for which the same
                          manufacturer sold or licensed the identical product in both countries in
                          the same form and dosage strength.


Background                United Kingdom make a comparison between the two countries’
                          pharmaceutical sectors illuminating. While pharmaceutical companies in
                          the two countries are similar in several respects, U.S. and U.K. firms face
                          very different market conditions.

                          The United Kingdom, like the United States but unlike Canada, is home to
                          a strong, research-oriented pharmaceutical industry. The U.K.
                          pharmaceutical industry, which consists of privately owned and operated
                          companies, remains with the United States as one of the world’s leaders in
                          pharmaceutical research and development. The United Kingdom ranks
                          third in the world-behind only the United States and Japan-in the
                          number of major global drugs introduced between January 1970 and May
                          1992.4As of 1991, three of the world’s 20 top-selling pharmaceutical firms
                          were based in the United Kingdom, including the world leader, Glaxo.

                           Despite the similarity between the two industries, firms in the United
                         , Kingdom operate in a very different market environment compared with
                           companies in the United States. The United Kingdom has a much smaller
                           market, with a population about one-fifth the size of the United States.
                           Furthermore, in the United Kingdom, the prescription drug market is
                           dominated by the government, which reimburses nearly all prescription
                           drug purchases and regulates drug company profits. By contrast, the U.S.
                           market is dominated by private payers, induding many consumers who
                           lack insurance coverage to pay for prescription drugs and who pay prices
                           for pharmaceuticals that are not subject to regulation.6 While the U.K.
                           government is tantamount to the single purchaser of prescription drugs in

                          3We lack data for estimating the share of the market represented by these 77 drugs

                          4Heinz Redwood, “New Drugs in the World Market: Incentives and Impediments to Innovation,” The
                          American Enterprise, Vol. 4, No. 4 (1993), p. 77.

                          ‘Although many U.S. citizens enjoy prescription drug coverage through private insurance or Medicaid,
                          many others--especially those with modest incomes-do not. In the most recent estimate that we
                          identified, the U.S. Office of Technology Assessment estimated that in 1987,73 to 77 percent of
                          noninstitutionalized U.S. citizens under age 66 had some outpatient prescription drug coverage, but
                          only 43 to 46 percent of U.S. citizens over age 65 had outpatient prescription drug insurance. See
                          Pharmaceutical R&D: Costs, Risks and Rewards, U.S. Congress,Offce of Technology Assessment,
                          Pub. No. OTA H-522 (Washington, D.C.: Feb. 1993) p, 241.


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                          that country, the U.S. pharmaceutical market is characterized by many
                          buyers. As a result, U.S. drug manufacturers can offer lower prices to
                          certain buyers, like mail order pharmacies and some managed care
                          organizations, while charging relatively higher prices to other buyers, such
                          as wholesalers who serve typical retail pharmacies.

                          Since 1980, the United States has experienced greater drug price increases
                          than has the United Kingdom. Between 1980 and 1991, U.K.
                          pharmaceutical prices declined an average of 1.3 percent per year, after
                          adjusting for overall infIation.6 By contrast, U.S. pharmaceutical prices
                          increased by an average of 3.4 percent per year, after adjusting for overall
                          infiation.7 (However, since 1990, consistent with drug manufacturers’
                          public pledges of self-restraint in pricing, the growth in U.S. drug prices
                          has declined.)


                          The results of our analysis are restricted to the May 1,1992, prices of the
Scope and                 drugs that we analyzed and cannot be projected beyond the scope of our
Methodology               study. In addition, our study is based on the prices for which drug
                          manufacturers se11their products to wholesalers; it does not measure
                          retail prices paid by consumers for drugs at pharmacies in the United
                          States or the United Kingdom.” As agreed with your office, we defined the
                          scope of our study as follows.

                          First, for the identical drugs sold in the United States and the United
                          Kingdom, we compared manufacturers’ factory prices. We focused on
                          these prices because-unlike wholesale or retail prices-factory prices
                          allow us to determine whether drug manufacturers are charging higher
                          prices in the United States for drugs sold in both countries. Further,
                          manufacturers’ charges are a significant component of final consumer
                          costs as they account for roughly two-thirds of the final or retail average
                          prescription charge in the United States.

                          Second, we studied the prices of brand-name drugs. In focusing on the
                          manufacturer’s role in pricing, we compared the factory prices of the
                          identical drugs sold in the United States and the United Kingdom by the

                          ‘In addition, in recent negotiations, drug manufacturers and the U.K. government agreed to a one-time
                          prescription drug price cut of 2.6 percent to remain in effect for 3 years beginning October 1, 1993.

                          ‘These figures are based on pharmaceutical prices, which include both prescription and
                          over-thecounter products. Data were not available to calculate a comparable price index for
                          prescription drugs alone.

                          6Both wholesale and retail margins for pharmaceuticals are also regulated in the United Kingdom.



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                  same manufacturers (or their foreign affiliates). This same manufacturer
                  criterion led us to exclude generic drugs from our sample because generic
                  drugs are usually manufactured and sold in the United States and other
                  countries by different, unaffiliated companies.g

                  Third, we concentrated our analysis on that segment of the drug market
                  populated by the typical consumer who, in both the United States and the
                  United Kingdom, buys prescription drugs at retail pharmacies. We focused
                  our study on this market segment because in the United States these
                  consumers are relatively vulnerable to high drug prices. Although these
                  consumers account for at least 55 percent of all outpatient prescriptions in
                  1992, they generally do not benefit from discounts that certain purchasers,
                  such as hospitals, mail order pharmacies, and certain health maintenance
                  organizations (HMOS), may obtain from manufacturers.

                  We summarized the spectrum of differences in drug prices between the
                  United States and the United Kingdom by constructing a price index that
                  accounts for differences in the quantities of each drug sold in the United
                  States. To identify the likely causes of drug price differences across
                  countries, we interviewed U.K. government officials, as well as industry
                  representatives and academic experts in both countries.

                  To provide perspective on our central findings, we conducted additional
                  price comparisons. First, to permit us to contrast the typical consumer’s
                  perspective on factory prices of drugs with the manufacturer’s
                  perspective, we also estimated U.S.-U.K. price differentials using an
                  average U.S. price measure that includes discounts and rebates provided
                  to certain nonfederal institutional buyers.lO The average U.S. price does
                  not address our central question-how factory prices differ between the
                  market segments frequented by typical consumers in the United States and
                  the United Kingdom. Nonetheless, the average U.S. price does help shed
                  light on a related question that is vital to manufacturers-how the amount
                  of revenue per package received by the manufacturers differs between the
                  United States and the United Kingdom. Second, because lower priced
                  generic drugs are available as alternatives to some higher priced
                  brand-name drugs, we also estimated the price differential that would
                  occur if American consumers always substituted generic drugs, if
                  available, for the brand-name drugs in our sample.

                  gAs of 1993,generic drug products comprised an estimated 30 percent of prescriptions filled in the
                  United States.

                  loWe compared this alternative measure of U.S. prices (for the same market basket of frequently
                  dispensed drugs in the United States) to the factory prices charged for the same drugs in the United
                  Kingdom.


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                              We conducted our review from April 1992 through July 1993 in accordance
                              with generally accepted government auditing standards. Details of our
                              scope, methodology, and analysis are described in appendix I. The
                              individual drug price differentials appear in appendix II. Methodological
                              issues for international drug price comparisons are discussed in appendix
                              III.


Principal Findings

Manufacturers ?3rpically      We found significant differences in the prices that manufacturers charge
Charge More for               wholesalers for identical, frequently dispensed prescription drugs sold in
Prescription Drugs in the     retail pharmacies in the United States and the United Kingdom. A market
                              basket of 77 frequently dispensed drugs that we analyzed would cost
United States Than in the     wholesalers 60 percent more in the United States than in the United
United Kingdom                Kingdom.” A total of 66 drugs (86 percent) were priced higher in the
                              United States than in the United Kingdom, and 47 (61 percent) were priced
                              more than twice as high in the United States as in the United Kingdom.
                              U.S.-U.K. drug price differentials varied substantially among individual
                              products. US. prices ranged from 62 percent lower to 1,712 percent higher
                              than the U.K. prices, as figure 1 shows.




                              “This market basket is, in effect. an index that weights each individual drug price by the quantity of
                              the product sold in the United States in 1992. The overall price differential was cfculated by
                              converting U.K. prices to U.S. dollars using the May 1, 1992, exchange rate. We also calculated the
                              differential using an alternative conversion method, the 1992 purchasing power parity. Using this
                              method, the U.S.-U.K. price differential was 86 percent.



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Figure 1: Range of U.S.-U.K.   Drug
Price Differentials                   25   Number of Drugs



                                      20




                                      15




                                      IO



                                       5



                                       0


                                                             25%      100%                     More

                                                             Higher in U.S.



Price Differentials Smaller for       Price differentials tended to be dramatically smaller for more recently
Newer Medicines and                   introduced drugs in our sample than for older products. In our sample, the
Single-Source Drugs                   market basket of drugs introduced before 1980 cost 120 percent more in
                                      the United States than in the United Kingdom, while the market basket of
                                      drugs fust introduced between 1980 and 1985 cost 60 percent more in the
                                      United States, and the market basket of drugs introduced between 1986
                                      and 1992 cost 17 percent more in the United States. This pattern is
                                      consistent with both the effect of U.K. restrictions on price increases and
                                      with reports that manufacturers have narrowed country-by-country
                                      differences in the introductory prices of new drugs in recent years.

                                      In addition, price differentials tended to be smaller for single-source
                                      brand-name drugs in our sample than for brand-name drugs that have
                                      generic substitutes. For example, the market basket of drugs that were
                                      multiple source in both countries cost 125 percent more in the United
                                      States than in the United Kingdom, while for single-source drugs the
                                      corresponding difference was 45 percent. Because drugs with generic
                                      substitutes have usually been on the market longer, this finding is
                                      consistent with our result that older drugs have wider price differentials.
                                      In addition, this result is consistent with findings from other studies that
                                      suggest that, in the U.S. market, manufacturers respond to competition



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                                 from lower priced generic drugs by increasing-rather                       than
                                 decreasing-the prices of brand-name products


Methodological Choices           In conducting international comparisons of drug prices, the precise size of
Do Not Significantly Alter       drug price differentials depends on the methodological choices made.
Qualitative Results              Other researchers might make different decisions than we did and,
                                 consequently, report price differentials that are smaller or larger than what
                                 we found. Nonetheless, our qualitative result-that prescription drug
                                 prices are significantly higher in the United States than in the United
                                 Kingdom-is largely unaffected by the methodological decisions we made.

                                 Some of these methodological choices depend on the particular question
                                 being asked. Consider the following exampIes:

                             l Other researchers might be concerned with how manufacturers’ factory
                               prices charged in the United Kingdom compare to the average factory
                               prices paid by all market segments in the United States (including those
                               who have access to manufacturers’ discounts), rather than to the segment
                               consisting of the typical U.S. consumer. We found, however, that whether
                               one looks at the typical consumer market segment or the entire market
                               had a modest impact on the overall price differential.
                             . Others may also want to calculate how price differentials vary when
                               accounting for the possibility that consumers can sometimes buy less
                               expensive generic substitutes. We found that, for the brand-name drugs in
                               our sample, if U.S. consumers purchased lower priced generic substitutes
                               when available, and U.K. consumers did not, U.S. consumers would still
                               pay substantiaIly more for our market basket of drugs.12

                                 Other choices relate to the more technical issues of performing an
                                 international drug price comparison, such as how to convert U.K. prices
                                 into U.S. dollars. For example, we still found substantial drug price
                                 differentials by using the 1992 purchasing power parity (rather than the
                                 May 1, 1992, exchange rate) to express U.K. drug prices in U.S. dollars.
                                 There was also little change in the results when we used either the second
                                 quarter 1992 exchange rate or the 1992 average exchange rate to convert
                                 pounds sterling to do&us. These rates were similar to the May 1, 1992,
                                 exchange rates.


                                                                                                                                      ,


                                 12Geneticsubstitutes were available for 21 of the 77 brand-name drugs in our sample.



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prim;wy Factors                 Most of the differences in prescription drug prices between countries
Contributing to U.S.-U.K.       cannot be attributed to differences in manufacturers’ costs. This
Price Differentials             conclusion holds for differences in costs whether they are associated with
                                research and development, marketing, production, or distribution.
                                Pharmaceutical manufacturers’ officials and industry experts agree that
                                cost differences are not a major factor in determining prices for individual
                                drug products.

                                Instead, we found that U.S.-U.K. drug price differences are primarily due
                                to the regulatory constraints that manufacturers face in pricing their drugs
                                on the U.K. market and to the lack of similar constraints in the United
                                States.13In the United Kingdom, the government, operating within a health
                                system that is publicly financed and run, is tantamount to the sole payer
                                for prescription drugs. The U.K. government exercises its concentrated
                                buying power through an agreement with drug manufacturers; this
                                agreement limits the profits that drug manufacturers earn on sales in the
                                United Kingdom. Although manufacturers are generally free to set the
                                introductory prices of newly released drugs in the United Kingdom, each
                                manufacturer’s profits must not exceed the maximum level established by
                                the government. Furthermore, once introductory prices are set, the
                                government restricts manufacturers from increasing prices on existing
                                products.14

                                Qualitative evidence suggests that other competitive factors in the U.K.
                                market may work together to lower average brand-name drug prices:

                            l   Pharmaceutical information is more widely available in the United
                                Kingdom than in the United States, perhaps enhancing price competition
                                among drug manufacturers in the United Kingdom. U.K. physicians receive
                                information on their own prescribing patterns and on the comparative
                                prices and efficacy of drugs. In addition, physicians in the United Kingdom
                                are given prescribing benchmarks, referred to as indicative amounts, that




                                ‘% our previous international comparison of drug prices, we reached similar conclusions: a major
                                source of U.S.-Canadian drug price differentials was the combined actions in the drug marketplace of
                                Canadian federal and provincial governments to restrain prescription drug prices. See prescription
                                DC,                                                                            pp. 2-3.

                                “The agreement between drug manufacturers and the U.K. government was recently renegotiated,
                                Under the new agreement, prescription drug prices in the United Kingdom were cut by 2.5 percent for
                                3 years, effective October !, 1993.



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                               encourage them to be aware of the prices of the drugs they prescribe and
                               how their prescribing patterns compare to national averages.lK
                             . The government can remove drugs in certain therapeutic categories from
                               its list of reimbursable products if the manufacturers’ prices for those
                               drugs are considered excessive.
                             . Wholesalers and retailers can import brand-name drug products into the
                               United Kingdom from other European countries where drugs are available
                               at lower prices (known as parallel importing). Parallel importing may
                               exert downward pressure on prices of some brand-name drugs, thereby
                               contributing to lower average U.K. drug prices.


Implications of U.K.-Style     Although government regulation has restrained drug prices in the United
Government Intervention        Kingdom, the implications of similar intervention in the U.S.
in the U.S. Market Remain      pharmaceutical market are unclear. LittIe agreement exists on the
                               appropriate level of US. drug prices, and no consensus has emerged on
Unclear                        what, if any, mechanism should be used to achieve this price level.
                               Regulatory approaches used in the United Kingdom, while apparently
                               effective at restraining drug prices in that country, may not be easily
                               transferrable to the United States because of the many institutional
                               differences between the two countries. In addition, the debate over the
                               potential effects of drug price regulation-particularly  the contention that
                               higher drug prices encourage pharmaceutical research and
                               development--cannot be resolved solely by referring to U.K. drug prices.
                               This larger issue is beyond the scope of our study.


                               As agreed with your office, unless you publicly announce its contents
                               earlier, we plan no further distribution of this report until 30 days after its
                               issue date. At that time, we will send copies to interested congressional




                              “LJ K I physicians’ indicative amounts are based on such factors as historic expenditures, the
                              comparable average cost for the region, demographics, and inflation. These indicative amounts are not
                              cash limits, but rather a benchmark target for physicians.


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                  committees and make copies available to others upon request. If you or
                  your staff have any questions about this report, please contact me at
                  (202) 512-7119. Major contributors to this report are listed in appendix IV.

                   Sincerely yours,



                +-I&

                   Sarah F. Jaggar
                   Director, Health Financing
                     and Policy Issues




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                  Abbreviations

                  CPI             consumer price index
                  HMO             health maintenance organization
                  IPS             Indicative Prescribing Scheme
                  NHS             National He&h Service
                  non-FAMP        nonfederal average manufacturer price
                  PPP             purchasing power parity
                  PPFEi           Pharmaceutical Price Regulation Scheme
                  VA              Department of Veterans Affairs
                  WAC             wholesale acquisition cost


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Appendix I

Prices for Many Top-Selling Prescription
Drugs Are Higher in the United States Than
in the United Kingdom
                                We compared the factory prices of identical prescription drugs sold by the
                                same manufacturer in the United States and the United Kingd0m.l We
                                found that (1) large price differentials existed for top-selling brand-name
                                drugs sold in both countries and (2) these large differences persisted even
                                after accounting for generic drugs and manufacturers’ discounts that are
                                provided to some U.S. market segments. Price differentials were smaller
                                for newer medicines and for drugs without generic substitutes.

                                The drug price differentials we found are primarily due to government
                                intervention in the U.K. pharmaceutical market; the U.K. government
                                regulates drug company profits and restricts firms from increasing prices
                                on existing products. However, because of the many institutional and
                                market differences between the two countries, the implications-and the
                                desirability-of U.K.-style regulations for the United States are unclear.


U.S. Pharmaceutical             congressional interest in the pricing practices of drug manufacturers,2
Market Under                    Between 1980 and 1991, the prescription drug component of the U.S.
Increased Scrutiny              consumer price index (CPI) rose much faster than the economywide CPI.~
                                However, in the past few years, with calls for government regulation
                                increasing, drug manufacturers made public commitments to self-restraint
                                in drug pricing. Consistent with this new industry stance, since 1990 the                              I

                                rate of prescription drug price increases has slowed+
                                                                                                                                       w

                                Policymakers’ concerns over U.S. prescription drug prices stem in part
                                from the fact that many Americans, because they lack insurance coverage
                                for prescription drugs, are vulnerable to high drug prices. Although many
                                U.S. citizens obtain prescription drug coverage through employer-
                                sponsored health insurance plans or other third-party payers (including
                                Medicaid), other U.S. consumers can get prescription drugs only by paying

                                ‘An earlier GAO report describes such a price comparison between the United States and Canada. See
                                Prescription Drugs: Companies Typically Charge More in the United States Than in Canada.

                                % sharp contrast to drug prices in the 1980%drug prices in the 1970s increased more slowly than
                                overall prices.

                                %%ce indexes provide some indication of the rate of prescription drug price increases as compared
                                with price inflation in the general economy. But some research indicates that prescription drug
                                indexes may over-sample medium-aged drugs that undergo above-average price increases, and
                                under-sample younger products that experience less-than-average price increases, thereby overstating
                                annual average drug price inflation. (See Ernst R. Bemdt and others, “Auditing the Producer Price
                                Index: Micro Evidence From Prescription Pharmaceutical Preparations,” Working Paper No. 4009,
                                National Bureau of Economic Research (Washington, DC.: Mar. 1992). Alternatively, indexes may
                                understate annual changes in average drug prices because they generally do not measure the impact of
                                new drugs, many of which enter the market at relatively high prices.



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                           In the United Kingdom




                           out of pocket,. Many of these individuals have little financial cushion
                           available when faced with substantial drug expenses. Furthermore, critics
                           contend that such consumers are often doubly vulnerable-not only do
                           they lack insurance, but they are in a market segment in which drug
                           companies charge higher prices. That is, a manufacturer offers discounts
                           to certain buyers (like mail order pharmacies and some managed care
                           organizations) while charging higher prices to other buyers, such as the
                           wholesalers and retail pharmacies that serve the typical consumer.

                           Unlike the pharmaceutical markets of other large, industrialized countries,
                           the US, market is generally free of government regulations that limit drug
                           manufacturers’ prices or profits.4 Consequently, pharmaceutical
                           manufacturers have set different prices in various U.S. market segments.
                           For example, mail order pharmacies and some health maintenance
                           organizations negotiate directly with the drug manufacturers and may
                           obtain discounts. By contrast, retail pharmacies, which collectively make
                           up at least 55 percent of the prescription drug outpatient market, have
                           been unable to obtain lower drug prices.6


                           Compared to the United States, prescription drug prices in the United
U.K. Pharmaceutical        Kingdom have been rising relatively slowly. Between 1980 and 1989, U.K.
Sector Characterized       pharmaceutical prices grew at a rate slightly less than overall inflation. By
by Slow Price Growth,      contrast, US. pharmaceutical prices rose, on average, by 3.15 percent per
                           year above the overall inflation rate. Despite the United Kingdom’s decIine
Universal Insurance,       in inflation-adjusted pharmaceutical prices, however, the U.K. government
and Strong Research        still faced continued growth in pharmaceutical spending. From 1980 to
and Development            1989, inflation-adjusted drug spending in the United Kingdom grew each
                           year an average of 2.8 percent, (By comparison, the comparable growth
                           rate for U.S. drug spending was almost 5 percent per year.)6 As a result, by



                           % part of efforts to shape a health care reform plan, the Congress and the executive branch are
                           currently considering several methods for restraining prescription drug prices. In addition, some
                           pharmaceutical companies have proposed voluntary price restraint agreements. To date, no federal
                           controls affecting drug prices comprehensively have been enacted. However, in 1990, as part of the
                           Omnibus Budget Reconciliation Act, the Congress required pharmaceutical companies to provide price
                           discounts to state Medicaid programs.

                           “Strictly speaking, only a small fraction of drug manufacturers’ sales are to retail pharmacies directly;
                           the bulk of such sales are to wholesalers and to large institutional buyers such as HMOs. Nonetheless,
                           most retail pharmacies are not in a position to benefit from discounts because their wholesalers are
                           not able to negotiate discounts from manufacturers.

                           “These figures are based on pharmaceutical prices, which include both prescription and over the
                           counter products. Data were not available to calculate a comparable index for prescription drugs
                           alone.



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                            1992, the U.K. government spent 10 percent of total health care
                            expenditures on prescription drugs.

                            In the United Kingdom, the national government significantly affects the
                            business environment for drug manufacturers because it plays a
                            predominant role in the delivery and financing of health care. The National
                            Health Service (NHS), through its regional and district health authorities,
                            offers all citizens a comprehensive package of primary, hospital, and
                            community care services at little or no out-of-pocket charge to the patient.
                            As part of this comprehensive package, the NHScovers the cost of most
                            prescribed drugs. In its role as virtually the sole payer for prescription
                            drugs, the NHSaccounts for about 97 percent of all prescription drug
                            expenditures in the United Kingdom. Although U.K. health care is largely
                            financed from general tax revenues, other financing sources include
                            payroll and local taxes, consumer copayments for some prescriptions, and
                            payments by private patients in public hospitals.

                            While the financing and operation of the U.K. health care system is
                            primarily in government hands, the ownership and operation of the U.K.
                            pharmaceutical industry remains private. In addition, the U.K.
                            pharmaceutical industry is one of the world’s leaders in pharmaceutical
                            research and development. The United Kingdom ranked third in the
                            world-behind only the United States and Japan-in the number of major
                            global drugs introduced between January 1970 and May 1992.7As of 1991,
                            three of the world’s 20 top-selling pharmaceutical firms were based in the
                            United Kingdom, including the world leader, Glaxo.


                            In response to the questions posed to us by the Chairman of the
Scope                       Subcommittee on Health and the Environment, we defined the scope of
                            our study in terms of (1) the measure of prices that we analyzed, (2) the
                            segment of the drug market that we examined, and (3) the criteria used to
                            select drugs to study. These are further explained below.


Price Measure               For frequently dispensed drugs in the United States, we compared
                            manufacturers’ factory prices to the factory prices charged by the same
                            manufacturers of the identical drugs in the United Kingdom.8
                            Manufacturers’ factory prices are a maor component of retail drug
                            prices-the factory price accounts for about two-thirds of the average U.S.

                            ?Redwood, p. 77.

                            me factory price is typicaIly paidby wholesalers to manufacturers.



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                               retail price of prescription drugs. The decisive reason for studying factory
                               prices, however, is that these prices are the only measure of price that
                               would allow us to determine whether drug manufacturers sell identical
                               products at different prices here and in other countries.


Segment of Market              We focused on the segment of the retail market that accounts for the
                               majority of prescriptions dispensed in the United States. This segment,
                               which we refer to as the undiscounted market segment, involves retail
                               outlets-both traditional retail pharmacies and managed care
                               organizations-that do not negotiate substantial discounts from drug
                               companies, The undiscounted segment in the United States is populated
                               by the typical consumer who, in the United States as well as in the United
                               Kingdom, generally buys prescription drugs at retail pharmacies9 In the
                               United States, these consumers are relatively vulnerable to high drug
                               prices. Although these typical consumers accounted for at least 55 percent
                               of all outpatient prescriptions dispensed in 1992, they usually do not
                               benefit from discounts, such as those negotiated by hospitals, mail order
                               pharmacies, and some HMOS.


Selection Criteria             We selected the drugs for our study from the 200 drugs most frequently
                               dispensed by U.S. drugstores. i0 These 200 drugs represented 54.9 percent
                               of all prescriptions dispensed in U.S. drugstores during 1991. Drugs often
                               come in multiple dosage forms (tablets and capsules), dosage strengths
                               (100 milligrams), and package sizes (30 and 100 tablets)-each
                               combination (form /strength/package size) with its own price. To simplify
                               our analysis, we selected a single, commonly used U.S. dosage form,
                               dosage strength, and package size for each specific drug product. (When
                               the U.S. package size was not available in the United Kingdom, we
                               followed a methodology detailed in app. III.) We then obtained U.S. and
                               U.K. prices per package for each individual drug product+ Finally, we
                               compared unit prices in the United States and the United Kingdom; use of
                               unit prices permits a comparison of otherwise identical products that
                               differ in package size.




                               ‘Also included in this market segment is a substantial fraction of consumers who belong to HMOs and
                               other managed care organizations. Although some HMOs, especially those that operate in-house
                               pharmacies, negotiate discounts from drug manufacturers, other HMOs do not receive such discounts.

                               “A ranking of the 200 drug products most frequently dispensed in the United States is published
                               annually in American Druggist.



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                                Of the 200 most frequently dispensed drugs, we were able to match 77
Approach                        drugs by brand name, manufacturer, dosage strength, and dosage form in
                                both the United States and the United Kingdom.” (See app. II.) The 77
                                matched drugs included 27 of the 50 most commonly prescribed drugs. We
                                excluded 123 of the 200 drugs in our sample for one or more of the
                                following reasons:

                            l The manufacturer did not sell the drug in the United Kingdom in the same
                              dosage strength or dosage form as in the United States (9 drugs).
                            l The manufacturer discontinued selling the product in the United States
                              before May 1,1992 (1 drug).
                            . The drug was sold by prescription in one country but was sold over the
                              counter in the other country (9 drugs).
                            l The manufacturer selling the drug in the United States did not sell the
                              identical product in the United Kingdom (104 drugs).‘*

                                This last reason effectively resulted in our studying the prices of
                                brand-name drugs.13The rationale for focusing on brand-name drugs is our
                                interest in the manufacturers’ role in pricing, which in turn required us to
                                compare the factory prices of the identical drugs sold in the United States
                                and the United Kingdom by the same manufacturers (or their foreign
                                affiliates).

                                Given the scope of the study detailed above, we obtained a measure of
                                U.S. factory prices that pertains to the undiscounted market segment-the
                                wholesale acquisition cost (wAc)--from the 1992 Me&-Span Master Drug
                                Data Base-Select.14The price data are for May 1, 1992, The WAC represents
                                the factory price for most of the outpatient prescription drug market: the
                                55 percent of that market served by wholesalers who do not receive




                                “We lack data for estimating the share of the market represented by these ‘77drugs.

                                ‘This category of excluded drugs includes generic products sold in the United States that were
                                manufactured by a company that had no affiliated company marketing the identical product in the
                                United Kingdom.

                                13Weuse the term brand-name drugs in this context to mean originator drugs-that is, those
                                pharmaceutical products that introduce a new chemical entity. While some manufacturers of generic
                                drugs may use brand names, these products are not originator brand-name drugs.

                                14Medi-Spanis a private firm that gathers pharmaceutical information.



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                   discounts from manufacturers and the substantial share of the managed
                   care market segment that also does not receive such discount~.‘~~‘~

                   To contrast the typical consumer’s perspective on factory prices of drugs
                   with the manufacturers’ perspective, we also estimated U.S.-U.K.
                   differentials using an average U.S. price that encompasses manufacturers’
                   prices in both discounted and undiscounted market segments. The average
                   U.S. price does not address our central question-how factory prices
                   differ between the market segments frequented by typical consumers in
                   the United States and the United Kingdom. But the average U.S. price does
                   help shed light on a related question that is vital to manufacturers-how
                   the amount of revenue per package received by the manufacturer differs
                   between the United States and the United Kingdom,

                   To estimate the average manufacturer’s price, which summarizes
                   manufacturers’ prices in all market segments for prescription drugs in the
                   United States, we obtained the nonfederal average manufacturer price
                   (non-FAMP) from the U.S. Department of Veterans Affairs (VA). The non-FAMP
                   price measure is calculated for a single form, strength, and package size of
                   a specific drug product (for example, Amoxil250 mg tablet, package of
                   500). The non-FAMP is a weighted average of the WAC (the factory prices
                   charged to wholesalers in the United States) and the lower prices charged
                   by manufacturers to buyers with market power, like some HMOS.These
                   lower prices reflect manufacturers’ discounts and rebates.17We chose the
                   non-FAMP prices for the period of October 1, 1991, through September 30,
                   1992, to conform to the period for which we have WAC price data.‘*

                  Although a comprehensive analysis of U.S.-U.K. price differentials for the
                  broad array of generic drugs sold in the United States lies beyond the


                   ‘6HMOs constitute roughly 32 percent of the outpatient prescription drug market; however, many
                   HMOs (especially those that do not operate their own pharmacies) do not receive price discounts from
                   drug manufacturers.

                  ‘%ome observers have criticized the use of the WAC as a measure of manufacturers’ prices because it
                  does not capture manufacturers’ discounts and price reductions provided to certain buyers. However,
                  the WAC is the correct price measure for an analysis of the undiscounted segment of the U.S.
                  pharmaceutical market. Use of a price measure that includes manufacturers’ discounts would
                  understate the manufacturer’s component of the price paid by the typical U.S. consumer.
                  Consequently, the true differential in manufacturers’ prices for this market segment would be
                  underestimated.

                  ‘The non-FAMP price measure excludes prices paid by the VA, the U.S. Public Health Service, other
                  federal buyers, and rebates paid by state Medicaid programs. These buyers may receive discounts or
                  rebates from drug manufacturers.

                  ‘@TheSecretary of the Department of Veterans Affairs defines the period of time for which
                  manufacturers calculate the non-FAMP. The non-FAMP period that covers May 1, 1992,the date of our
                  price data, began on October l,199L, and ended on September 30,1992.

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                  scope of this study, we did conduct a more limited analysis. It examined
                  the effect on differentials of including generic equivalents of the drugs in
                  our sample. In particular, we compared what our market basket of 77
                  drugs would cost if U.S. consumers purchased the lowest priced generic
                  product in the 21 cases where generic drugs were available and if U.K.
                  consumers always purchased the brand-name product.lg

                  We obtained U.K. prices as of May 1,1992, listed in the Chemist & Druggist
                  Monthly Price List. Because this listing contains wholesale prices rather
                  than manufacturers’ prices, we adjusted these prices to factory prices by
                  subtracting the standard 12.5-percent discount that the drug
                  manufacturers provide to U.K. wholesalers.”

                  All prices in our study reflect what are called transaction prices, rather
                  than list or sticker prices. That is, our price data represent, in general, the
                  actual prices at which manufacturers selI their products to wholesalers
                  and other purchasers in the United States and the United Kingdom.
                  Specifically, for the United States, the WAC is the most common basis for
                  U.S. transaction prices in the undiscounted market segment, while the
                  non-FAMP is an average of transaction prices in the undiscounted and other
                  segments.

                  We converted U.K. drug prices to U.S. dollars using the May 1,1992,
                  exchange rate of SO.5598per dollar. We also converted U.K. drug prices to
                  U.S. dollars using the 1992 purchasing power parity (PPP) of SO.652per
                  dollar.

                  In addition to comparing each drug’s U.S. and U.K. factory prices per unit,
                  we summarized the spectrum of price differentials by comparing the cost
                  of purchasing, at factory prices, a weighted market basket of all 77 drugs
                  in the United States to the cost of purchasing the same market basket at
                  factory prices in the United Kingdom. This market basket is, in effect, an
                  index that weights each individual drug price by the quantity of the




                  “Generic substitutes were available for 21 of the 77 brand-name drugs in our sample.

                  “The 12.Spercent discount includes a lo-percent fixed discount provided by the drug manufacturers
                  and set by the U.K. government. In addition, drug manufacturers provide a 2.5.percent
                  prompt-payment discount to wholesalers. According to a representative of the association
                  representing U.K. wholesalers, wholesalers almost always take advantage of this prompt-payment
                  discount.


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                           product sold in the United States. 21This comparison of aggregate cost
                           captures the difference between U.S. and U.K. prescription drug prices in a
                           more meaningful way than, for example, the mean or median of the
                           individual differences in tit prices. (See app. III.)

                           To identify the likely causes of drug price differences across countries, we
                           interviewed U.K. government officials, as well as industry representatives
                           and academic experts in both countries. To learn about the U.K.
                           pharmaceutical market in relation to Europe, we also interviewed
                           representatives of the European Community as well as European
                           government officials, industry representatives, academic researchers, and
                           pharmaceutical industry experts.

                           U.K. government officials and a pharmaceutical expert in the United States
                           reviewed a draft of this report. Government officials, pharmaceutical
                           industry representatives, and academic researchers reviewed the price
                           comparison methodology described in appendix III. We incorporated their
                           comments as appropriate. Methodological issues for international drug
                           price comparisons are discussed in appendix III.


                           For our sample of top-selling prescription drugs, manufacturers typically
Manufacturers’ Prices      charge significantly more in the United States than in the United Kingdom.
for Top-Selling Drugs      Our market basket of 77 drugs would cost 60 percent more in the United
Epically Higher in the     States than in the United Kingdom.22 This method of summarizing price
                           differentials gives more weight to drugs that are the most commonly
United States Than in      dispensed.
the United Kingdom
                           Price differentials between the two countries varied widely among the
                           drugs we studied. The U.S. price ranged from 62 percent lower than the
                           price of the same drug in the United Kingdom to 1,712 percent higher. (See
                           app. II.) Despite this wide range, most drugs were more expensive in the
                           United States than in the United Kingdom. (See fig. 1.1.) Of the 77 drugs we
                           compared, 66 drugs were priced higher in the United States while 11 drugs
                           were priced higher in the United Kingdom. Forty-seven drugs (or


                           ZIThese weights are from the IMS America U.S. Drugstore database. IMS America is a private vendor of
                           pharmaceutical information. Its U.S. Drugstore database tracks the pharmaceutical products
                           purchased by independent pharmacies, chain and discount drugstores, and proprietary stores. IMS
                           provided, for calendar year 1992,the number of units sold for all package sixes of the specified
                           strength and form of each drug in our sample.

                           22Thisoverall price differential was calculated by converting U.K. prices to U.S. dollars using the May
                           1,1992, exchange rate. We also calculated the differential using an alternative conversion method, the
                           1992 PPP. Using this method, the U.S.-UK. price differential was 86 percent


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